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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF DELAWARE


In re:                                                         Chapter 11

AEROGROUP INTERNATIONAL,                                       Case No. 17-11962 (KJC)
INC., et al.,                                                  (Jointly Administered)
                                          Debtors.1            Re: D.I. 566, 605, 612, 618


                 NOTICE OF EXTENSION OF DATES RELATED TO BID
                    DEADLINE, AUCTION, AND SALE HEARING

        PLEASE TAKE NOTICE that on January 31, 2018, the United States Bankruptcy
Court for the District of Delaware entered the Order (A) Approving Bid Procedures for
the Sale of Substantially all of the Debtors’ Assets, (B) Approving Procedures for the
Assumption and Assignment of Executory Contracts or Unexpired Leases in Connection
with the Sale, (C) Authorizing the Debtors to Enter Into Stalking Horse Agreements and
Approving Certain Bid Protections, Subject to a Further Hearing, (D) Scheduling a Sale
Hearing, and (E) Granting Certain Related Relief [D.I. 566] (the “Bid Procedures
Order” ).2

        PLEASE TAKE FURTHER NOTICE that on February 9, 2018 and February 12,
2018, the Debtors filed notices extending certain dates related to the Bidding Procedures
[D.I. 605, 612] (the “Extension Notice” ). Certain dates related to the Bidding Procedures
are further extended as set forth herein.

       PLEASE TAKE FURTHER NOTICE that the Bid Deadline has been extended
from February 14, 2018 at 10:00 a.m. (ET) to February 14, 2018 at 8:00 p.m. (ET).

      PLEASE TAKE FURTHER NOTICE that the Auction has been rescheduled to
commence on February 15, 2018 at 10:00 a.m. (ET) at the offices of Ropes & Gray
LLP, 1211 Avenue of the Americas, New York, New York 10036.

       PLEASE TAKE FURTHER NOTICE that the Debtors have requested that the
Sale Hearing be rescheduled from February 15, 2018 at 1:30 p.m. (ET) to February 16,


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    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Aerogroup International, Inc. (6119), AGI Holdco, Inc. (7087),
    Aerogroup International LLC (4658), Aerogroup International Holdings LLC (4312), Aerogroup Retail
    Holdings, Inc. (4650), and Aerogroup Gift Card Company, Inc. (7551). The mailing address for the
    Debtors, solely for purposes of notices and communications, is: 201 Meadow Road, Edison, New Jersey
    08817.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
    the Bid Procedures Order.


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2018. The Debtors will file a further notice, which may be in the form of an agenda, once
the Sale Hearing has been rescheduled.

        PLEASE TAKE FURTHER NOTICE that the Bid Procedures and the Bid
Procedures Order remain in full force and effect, without modification, except as
expressly set forth herein. Please be advised that the Bid Procedures and the Bid
Procedures Order set forth various additional procedures concerning, and requirements
for, the Bid Deadline and the Auction. These procedures and requirements are not
restated in their entirety in this Notice but nonetheless remain in full force and effect
except as expressly modified hereby. Accordingly, potential Bidders and other interested
parties are urged to review carefully the Bid Procedures and the Bid Procedures Order.
The Debtors reserve their right to adopt other or further modifications to the Bid
Procedures in accordance with the terms thereof and of the Bid Procedures Order.
Dated: February 13, 2018
       Wilmington, Delaware                 BAYARD, P.A.

                                             /s/ Erin R. Fay_________
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                                            -and-

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